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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In re:                                           )      Chapter 11
                                                 )
Yellow Cab Affiliation, Inc.,                    )      Case No. 15-09539
                                                 )      The Honorable Carol A. Doyle
Debtor                                           )      Courtroom No.: 742
                                                 )

                                  NOTICE OF MOTION

         PLEASE TAKE NOTICE, that on Wednesday, August 26, 2015 at 10:30 a.m., we shall

appear before the Honorable Carol A. Doyle, Courtroom 742, in the Everett McKinley Dirksen

Building, 219 South Dearborn Street, Chicago, Illinois 60604, or before any other judge who

may be sitting in her place and stead and then and there present the attached MOTION OF THE

OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR APPOINTMENT OF

EXAMINER, a copy of which is attached and hereby served upon you.

Dated: August 23, 2015                           Respectfully submitted,

                                                 DYKEMA GOSSETT PLLC, counsel to
                                                 the Official Committee of Unsecured
                                                 Creditors of Yellow Cab Affiliation, Inc.

                                                 By:     /s/ John F. Rhoades
                                                 Richard M. Bendix. Jr. (ARDC # 0168130)
                                                 Edward S. Weil (ARDC # 6194191)
                                                 Maria A. Diakoumakis (ARDC # 6289309)
                                                 John F. Rhoades (ARDC # 6309999)
                                                 10 S. Wacker Drive, Suite 2300
                                                 Chicago, IL 60606
                                                 Tel: (312) 876-1700 | Fax: (312) 876-1155
                                                 rbendix@dykema.com
                                                 eweil@dykema.com
                                                 mdiakoumakis@dykema.com
                                                 jrhoades@dykema.com




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                                  CERTIFICATE OF SERVICE

        John F. Rhoades, an attorney, certifies that on the 23rd day of August, 2015, he caused a

copy of the MOTION OF THE OFFICIAL COMMITTEE OF UNSECURED

CREDITORS FOR APPOINTMENT OF EXAMINER, to be filed electronically. Notice of

this filing was sent by operation of the Court’s electronic filing system to all parties indicated on

the filing receipt, including the attorney for the Debtor and the United States Trustee for this

District, as follows:

    Courtney E Barr on behalf of Creditor Illinois Insurance Guaranty Fund
    cbarr@lockelord.com, chicagodocket@lockelord.com;;pwilliams@lockelord.com

    Richard M Bendix, Jr on behalf of Creditor Committee Official Committee Of Unsecured
    Creditors
    rbendix@dykema.com

    Shelly A. DeRousse on behalf of Creditor Deborah Jacobs
    sderousse@freeborn.com, bkdocketing@freeborn.com;jhazdra@ecf.inforuptcy.com

    Shelly A. DeRousse on behalf of Creditor Marc Jacobs
    sderousse@freeborn.com, bkdocketing@freeborn.com;jhazdra@ecf.inforuptcy.com

    Maria A Diakoumakis on behalf of Creditor Committee Official Committee Of Unsecured
    Creditors
    mdiakoumakis@dykema.com, DocketCH@dykema.com

    Joseph D Frank on behalf of Creditor Clifford Law Offices, P.C.
    jfrank@fgllp.com, ccarpenter@fgllp.com;jkleinman@fgllp.com

    Frances Gecker on behalf of Creditor Clifford Law Offices, P.C.
    fgecker@fgllp.com, csmith@fgllp.com

    Matthew T. Gensburg on behalf of Debtor Yellow Cab Affiliation, Inc.
    MGensburg@dandgpc.com, chidocket@gtlaw.com;ChiBkyDocket@gtlaw.com

    E. Philip Groben on behalf of Creditor Louber Claude Boungou-Tssakala
    pgroben@cohenandkrol.com, trotman@cohenandkrol.com;jneiman@cohenandkrol.com

    John W Guzzardo on behalf of Creditor American Country Insurance Company
    jguzzardo@shawfishman.com, mlites@shawfishman.com

    Carrie A Hall on behalf of Creditor Michael Best & Friedrich LLP

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 cahall@michaelbest.com, jdschirmer@michaelbest.com

 Fred R Harbecke on behalf of Creditor Angela Martinez
 fredrharbecke@sbcglobal.net

 Fred R Harbecke on behalf of Creditor Elizabeth Martinez
 fredrharbecke@sbcglobal.net

 Martin S Kedziora on behalf of Debtor Yellow Cab Affiliation, Inc.
 kedzioram@gtlaw.com,
 hernandezden@gtlaw.com;CHILitDock@GTLAW.com;doranb@gtlaw.com

 Timothy Keiser on behalf of Creditor Sharon Kwon
 tkeiser@gwclaw.com, ghooker@gwclaw.com

 Maureen J Kelly on behalf of Creditor Muriel Cameron
 maureenjkelly@3kellyslaw.com

 Patrick S Layng
 USTPRegion11.ES.ECF@usdoj.gov

 Caren A Lederer on behalf of Creditor Leslie Ann Barr-Dewhurst
 calederer@golanchristie.com, mperez@golanchristie.com

 Shannon Liss-Riordan on behalf of Creditor Peter A Enger
 sliss@llrlaw.com

 Annie W Lopez on behalf of Petitioning Creditor West Bend Mutual Insurance Company
 a/s/o J & R Liquor & Food Basic Buy, Inc.
 alopez@walinskilaw.com

 Mark Mordini on behalf of Creditor Cornelus Ezeagu
 markmordini@msvemail.com

 Francis J. Pendergast, III on behalf of Creditor Dustin Heestand
 fpendergast@crowleylamb.com, ibenavides@crowleylamb.com;docket@crowleylamb.com

 Nancy A Peterman on behalf of Attorney Greenberg Traurig, LLP
 petermann@gtlaw.com, ChiBkyDocket@gtlaw.com;greenbergc@gtlaw.com

 Nancy A Peterman on behalf of Debtor Yellow Cab Affiliation, Inc.
 petermann@gtlaw.com, ChiBkyDocket@gtlaw.com;greenbergc@gtlaw.com

 John Rhoades on behalf of Creditor Committee Official Committee Of Unsecured Creditors
 jrhoades@dykema.com




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   Brian L Shaw on behalf of Creditor American Country Insurance Company
   bshaw@shawfishman.com, jbunton@shawfishman.com

   Jeffrey Snell on behalf of U.S. Trustee Patrick S Layng
   jeffrey.snell@usdoj.gov

   Michael M Tannen on behalf of Creditor Michael M. Tannen
   mtannen@tannenlaw.com, adminassistant@tannenlaw.com

   Michael M Tannen on behalf of Interested Party Yellow Group LLC
   mtannen@tannenlaw.com, adminassistant@tannenlaw.com

   Esther E Tryban Telser on behalf of Creditor City of Chicago
   etrybantelser@cityofchicago.org

   Steven A Wade on behalf of Creditor Jessica L. Edwards
   swade@anesilaw.com, cathyhe@uawlsp.com;lsingleton@anesilaw.com

   Edward S Weil on behalf of Creditor Committee Official Committee Of Unsecured Creditors
   eweil@dykema.com

   Barbara L Yong on behalf of Creditor Leslie Ann Barr-Dewhurst
   blyong@golanchristie.com, mperez@golanchristie.com;myproductionss@gmail.com



Dated: August 23, 2015                              /s/ John F. Rhoades
                                                       John F. Rhoades




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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In re:                                                 )      Chapter 11
                                                       )
Yellow Cab Affiliation, Inc.,                          )      Case No. 15-09539
                                                       )      The Honorable Carol A. Doyle
Debtor                                                 )      Courtroom No.: 742
                                                       )

         MOTION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
                       FOR APPOINTMENT OF EXAMINER

          The Official Committee of Unsecured Creditors (the “Committee”) of Yellow Cab

Affiliation, Inc., by and through its undersigned attorneys, hereby submits this motion for entry

of an order appointing an examiner pursuant to section 1104(c) of title 11 of the United States

Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”). In support of the Motion, the

Committee states as follows.

                                      Jurisdiction and Venue

          The United States Bankruptcy Court for the Northern District of Illinois (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. § 157. This matter is a core proceeding within

the meaning of 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. § 1408. The

statutory bases for the relief requested herein are sections 1104(c) and 1106 of the Bankruptcy

Code, and rule 2007.1(a) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”).

                                          Relief Requested

          The Committee seeks entry of an order appointing an examiner pursuant to section

1104(c) of the Bankruptcy Code to investigate the relationships between the Debtor and its

Affiliates (defined herein) and other entities. Such an investigation will reduce the administrative




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expenses which the estate will incur if the present dispute between the Committee, on the one

hand, and the Debtor and its Affiliates and other entities, on the other hand, continues unabated.

          Committee counsel has consulted regarding the terms of an order appointing an examiner

with the Debtor’s counsel and counsel for the Debtor’s affiliates, which include Taxi Affiliation

Services, Inc.; Yellow Group LLC; Taxi Medallion Management LLC; PeopleMover, Inc.;

Yellow Cab Partners LLC; Transit General Insurance Co.; Taxi Works LLC; Transit Funding

Associates LLC; Transit Funding Associates 2 LLC; Transit Funding Associates 3 LLC; Transit

Funding Associates 4 LLC; Transit Funding Associates 5 LLC; Transit Funding Associates 6

LLC; Chicago Taxi Medallion Management, Inc.; American United Taxi Affiliation, Inc.; Blue

Diamond Taxi Association, Inc.; Metro Cabs 1 LLC (collectively, the “Affiliates”). The law

firm of MoloLamken LLP represents the Affiliates and has accepted subpoenas on their behalf.

Bruce R. Zirinsky and Michael M Tannen appeared on behalf of Yellow Group LLC. (Docket

Nos. 98, 99). Committee counsel, the Debtor’s counsel, and counsel for the Affiliates are

working together on a draft order regarding the appointment of an examiner. If the parties cannot

come to an agreement on all of the terms of such an order, they may submit separate proposed

orders.

                                          CONCLUSION

          The Court should enter an order appointing an examiner pursuant to section 1104(c) of

title 11 of the Bankruptcy Code to investigate the Debtor and the relationships between the

Debtor and its Affiliates and other entities.




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Dated: August 23, 2015                       Respectfully submitted,

DYKEMA GOSSETT PLLC                          THE OFFICIAL COMMITTEE OF
Richard M. Bendix, Jr. (ARDC #0168130)       UNSECURED CREDITORS
Edward S. Weil (ARDC #6194191)
John F. Rhoades (ARDC #6309999)              By: /s/ John F. Rhoades
10 S. Wacker Drive, Suite 2300               One of its attorneys
Chicago, IL 60603
T: (312) 876-1700 | F: (312) 876-1155
rbendix@dykema.com
eweil@dykema.com
jrhoades@dykema.com




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